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            In the United States Court of Federal Claims
                                  No. 13-24 C

                              (Filed April 12, 2013)

*********************
YUCCA VALLEY OASIS II,   *
LIMITED,                 *
                         *
              Plaintiff, *
                         *
         v.              *
                         *
THE UNITED STATES,       *
                         *
              Defendant. *
*********************

                                    ORDER

      On April 11, 2013, defendant filed a Second Unopposed Motion For
Enlargement of Time To Respond To Plaintiff’s Complaint in this matter. Therein,
defendant requests an enlargement of time of sixty days, to and including June 14,
2013, to respond to plaintiff’s complaint. For good cause shown, it is hereby
ORDERED that defendant’s motion is GRANTED.


                                            /s/Lynn J. Bush
                                            LYNN J. BUSH
